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UNITED STATES DlSTRlCT COURT
SOUTHERN DlSTRlCT OF NEW YORK

 

 

UNlT STAT S OF AMERICA
ED E 07-01‘-0054] (PKC)
'V-' MOT[ON to CORRECT the record

 

 

DAN I EL B. KARRON

 

Det`endant

 

 

l, DANIEL B. KARRON(KARRON), the defendant, in this case, moves to make these three (3)
corrections due to the following four (4) errors:

ERROR l) (Late delivery and no due consideration):

¢ The Court made an error by prematurely issuing an adverse blanket denial ORDER on
October 20, Dkt at #_l_§_`i prior to the Judges’ chamber stamped acknowledgments of
KARRON’s final briefing papers, prior to this case being fully briefed by all/both parties.
This is procedurally unfair‘.

o At that time (October 20) While KARRON’s first papers were submitted on time
(October 18) to the count night drop depository box as indicated on the receipt
stamps, the original (Dkt # ijg) and the corrected reply papers(Docket _#_M) did
not get to the Judge’s chambers in time for due consideration

o KARRON’s first set of receipted papers were not stamped by the court's chambers
until a week after they were delivered to the courthouse (On October 25, Dkt
#_§..§§).

lo The court's order at #_lll factual basis preamble orjustitication section consists
entirely of verbiage from the governinent's unsworn late restyled letter.

o The courts order entirely ignores all the sworn statements of factual evidence
supported by exhibits made in KARRON’s responses to the governments
resubmission restyled document as an unsworn letter.

- There are no evidence from the Courts two (Dkt #lL and #l§§) responses
that this court ennsidered, read or looked at, or dismissed any of
KARRON’s original or corrected Second Memorandum of Law and
Declaration of Facts.

 

l 'l`he Doctrine ol`Procedurai Fairness see, for exainple: Pru Se Ca.se i\/ianancment t`nr Nonnrisoner Civil I_.iti,fzation.
By Jctl'i{sic] Wood Published F ederal Judicial Center 2016, Procedural Faimcss: A white paper by the Amcrican
Judnes Association bv Kevin Burl\'e and Steve lachen American judges Association Cc)urt Revuc V 44, and
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‘ One can reasonably assume that this court did not have KARRON’s
response papers when it composed its dispositive orders.

ERROR 2) (Wrong Citation):
¢ The Court’s memo endorsement at Dkt # l_35“ reference the wrong briefing document

o The Court made an error in Memo Endorsement Dkt # 1313 which was based on
and referred to the Defendant’s superseded original “Second l\/lemorandurn of Law
and Declaration of Facts”, Dkt # M.

o This original document was entirely replaced by a corrected replacement
document, Dkt #M.

o This original document was submitted on time before its due date of October 18,
according to the Courts revised briefing schedule given at Dkt # 1_2_§

o The covering letter for this submission is partially docketed at Dkt # l§_§_

o The correct document that should have been referenced for dispositive
consideration was the “SECOND MEMORANDUM of Law and Declaration of
Facts (corrected) [sic] gov”, Dkt # _l_3_ii_, not # @.

0 As such the courts Memo Endorsement was not properly and fully briefed and
should be reconsidered by the court.

PROPOSED CORRECTION (new explicit motion for reconsideration):

o Submitted along with this MOTION to CORRECT is a timely 14 day explicit replacement
MOTlON for RECONSIDERATION under Local Civil Rule 6.3. Motions for
Reconsideration or Reargument

ERROR 3) (Docketed document format error)
» Dkt ii § is docketed without the authoritative PACER blue annotation imprint in the top

margin.
CORRECTION (Rescan document):

o Rescan and docket the “SECOND MEMORANDUM of Law and Declaration of Facts
(corrected) [sic] gov”, Dkt # §§

 

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ERROR 4)

¢ Covering Letter shown at Dkt #ll§ upon which the court has handwritten its l`Vlerno
Endorsement is not docketed in its entirety; The only page scanned is the top page. The
second page of text explaining the procedural issues are to be raised by KARRON is
missing from the docketz.

CORRECT[ON: docket complete letter.

o Fully scan and docket the original Second Memorandum of Fact and Law covering ietter
used by the Court to make its MEMO DORSEMENT under the Doctrine of Completeness
Rule 106 of the Federal Rules of Evidence.

S|GNATURE PAGE
Dated: Friday, November l(), 2017

New York, New York %\[G
Signed `T/\ 9/@1(’(]

  

 

Daniel B. K N
Defendant

Pro Se

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2 Rule l06. Remainder of or Related Writings or Rccorded Statemcnts: lf a party introduces ail or part of a writing or
recorded statement, an adverse party may require the introduction, at that time, of any other part j or any other
writing or recorded statement -~ that in fairness ought to be considered at the same time.

 

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UNITED STATES DlSTRlCT COURT

SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
_V__

DANLEL B. KARRON
Defendant

 

 

07-¢1~-00541 (Pkc)
AFFIRMATION or sEvacn

 

 

 

 

l, DANIEL B KARRON, the Defendant declare under penalty of perjury that l served a copy of
the attached list the names of the documents upon all other parties in this case by

BY EMAIL to: steve.kwok@skadden.com, jessica.Greenwood@usdoi.gov

 

BY Receipted hand delivery, United States Court House, Criminal intake 5"‘ Floor

BY FAX; KPC Chambers: (212) 805~7949

BY United States Post Office
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United States Courthouse

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AFFIRMED to in New York, NY
Friday, November lO, 20 l 7

 

Signed

dane

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Defendant

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